               Case 2:24-cv-03951-PSG-RAO Document 1-12 Filed 05/10/24 Page 1 of 17 Page ID #:310
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.




                                                   Exhibit L




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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               Case 2:24-cv-03951-PSG-RAO Document 1-12 Filed 05/10/24 Page 2 of 17 Page ID #:311
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.




                           U.S. Patent No. 10,924,573

                                              Sandpiper CDN




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       2
               Case 2:24-cv-03951-PSG-RAO Document 1-12 Filed 05/10/24 Page 3 of 17 Page ID #:312
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                         Google CDN
 19. A method of content      Google uses and provides content delivery network(s) (“Google CDN”), including Google’s internal
 delivery in a content        services and services Google offers to third parties that are used to provide content, such as webpages
 delivery network             and/or video streams, over a network. Google CDN includes services such as Google Cloud CDN and
 comprising:                  Google Media CDN, for example, along with Google’s own use of technologies to provide content in a
 receiving, at a first        network.
 server of a first tier of
 servers of the content       As one example, Google provides a method of content delivery that includes receiving a request from a
 delivery network, a          device for a resource available from a content delivery network at a server in a first tier of the network.
 request from a               For example, a server in the Media CDN “edge” (e.g., “EdgeCacheService”), as discussed below, includes
 requesting device for a      a server in a first tier that receives client HTTP requests.
 resource available from
 the content delivery
 network;




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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




                              https://cloud.google.com/media-cdn/docs/overview

                              The Google CDN includes a multi-tiered network with a “long tail” cache at the top of the hierarchy. The
                              Google CDN includes long-tail caches with “substantial storage capacity,” indicating that a mid-tier and/or
                              edge nodes in the Google CDN have less storage capacity.




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                                                                       4
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        10,924,573                                                             Google CDN




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                                                                       5
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




                              https://cloud.google.com/media-cdn/docs/origins#origin-shielding

 accessing a popularity       Google accesses a popularity service to determine a popularity designation associated with a requested
 service associated with      resource. For example, Google Media CDN caches “the most popular content” closer to users, while
 the first server of the      eventually evicting “unpopular content.” Google CDN analyzes the “relative’ popularity of content.
 first tier of the content
 delivery network to          As one specific example, on information and belief, the Google CDN includes caches that “cross-fill from
 determine a popularity       each other where advantageous to do so,” indicating a popularity is determined.
 designation associated
 with the requested
 resource;



PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




                              https://cloud.google.com/media-cdn/docs/origins#origin-shielding




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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                        Google CDN
                              https://cloud.google.com/media-cdn/docs/caching




                              https://cloud.google.com/cdn/docs/overview




                              https://cloud.google.com/media-cdn/docs/caching#cache-modes




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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




                              https://cloud.google.com/media-cdn/docs/caching#cache-modes

 receiving an instruction Google receives instructions to not cache, for example in Media CDN when caches “cross-fill from each
 to not cache the resource other,” a cache providing a resource includes at least some popularity information for a receiving cache to
 at the first server of the be used to decide whether to cache the resource or not in response to an instruction.
 first tier of servers when
 the portion of the
 resource is obtained
 from the content server
 of the content delivery
 network;




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                                                                       9
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




                              https://cloud.google.com/media-cdn/docs/origins#origin-shielding




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                                                    #:320
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                        Google CDN
                              https://cloud.google.com/media-cdn/docs/caching

 requesting the resource      Google requests a resource from a second server of the Google CDN based on a popularity designation.
 from a second server of
 the content delivery
 network based at least
 on the popularity
 designation associated
 with the requested
 resource; and




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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                                                    #:321
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




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                                                    #:322
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




                              https://cloud.google.com/media-cdn/docs/origins#origin-shielding

 providing the obtained       Google provides a resource, for example Google Media CDN provides the resource to a requesting device.
 resource to the
 requesting device.




                              https://cloud.google.com/cdn?hl=en



PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      13
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                                                    #:323
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                        Google CDN
 20. The method as            Google includes a second server of the CDN that is a content server storing the requested content.
 recited in claim 19
 wherein the second
 server of the content
 delivery network is a
 content server storing
 the requested content.




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      14
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                                                    #:324
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




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                                                    #:325
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        10,924,573                                                             Google CDN




                              https://cloud.google.com/media-cdn/docs/origins#origin-shielding




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                                                    #:326
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